          Case 23-03049 Document 65 Filed in TXSB on 08/01/23 Page 1 of 1
                                                                            United States Bankruptcy Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                         UNITED STATES BANKRUPTCY COURT                          August 01, 2023
                           SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

In re:
                                               Chapter 11
TEHUM CARE SERVICES, INC.
                                               Case No. 23-90086 (CML)
Debtor

                            ORDER ADJOURNING MATTERS

         Due to the pending mediation with Judge David R. Jones, all motions to lift the

automatic stay, the Motion to Appoint a Chapter 11 Trustee filed at ECF No. 731, and all

matters relating to Adv. No. 23-03049 are adjourned to a date to be determined no earlier

than August 31, 2023.




              August01,
              August 02,2023
                         2019
